       Case 1:21-cv-00408-RT-NONE Document 3 Filed 10/12/21 Page 1 of 1                                                            PageID #: 21
AO 121 (     6/   )
TO:

                                                                                                       REPORT ON THE
                                                                                               FILING OR DETERMINATION OF AN
                                                                                                      ACTION OR APPEAL
                                                                                                   REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
                                                                         United States District Court, District of Hawaii
        G
        ✔ ACTION               G APPEAL
                                                                         300 Ala Moana Blvd., #C338
DOCKET NO.                          DATE FILED
                                                                         Honolulu, Hawaii 96850

PLAINTIFF                                                                             DEFENDANT

DOUGLAS LEE PERRINE                                                                   ETN CORPORATION, a Hawaii Corporation;
                                                                                      JUERGEN STEINMETZ, an individual; and
                                                                                      DOES 1-10, inclusive,

       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 VAU000530479                     D.L. Perrine Collection : No. 11.                                            Douglas Lee Perrine

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
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